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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                     :
                                                       :
                             Plaintiff,                :     NO. 19-CV-5946-RBS
                                                       :
        v.                                             :
                                                       :
COLIN PURRINGTON,                                      :
                                                       :
                             Defendant.                :

   DEFENDANT’S MOTION TO DISMISS COUNT II OF AMENDED COMPLAINT

        Defendant Colin Purrington hereby moves to dismiss Count II of the Amended Complaint

of AC2T, Inc. d/b/a Spartan Mosquito (“Spartan”), dated November 12, 2020, pursuant to Federal

Rule of Civil Procedure 12(b)(6). The grounds for Defendant’s motion are set forth more fully in

the accompanying Memorandum of Law in Support of Defendant’s Motion to Dismiss Count II

of Amended Complaint.



 November 25, 2020                        KLEHR HARRISON HARVEY BRANZBURG LLP



                                          By:   /s/ Paige M. Willan
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                                                Attorneys for Defendant Colin Purrington




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                               CERTIFICATION OF SERVICE


        I hereby certify that on November 25, 2020, I served a true and correct copy of the

foregoing Defendant’s Motion to Dismiss Count II of Amended Complaint, and the accompanying

proposed order, via this Court’s electronic filing system on the below-listed counsel for Plaintiff

AC2T, Inc.:

                                       Evan L. Frank, Esq.
                               Alan L. Frank Law Associates, P.C.
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                                 Counsel for Plaintiff AC2T, Inc.



                                                  By: /s/ Paige M. Willan
                                                         Paige M. Willan




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